Case 2:05-Cv-O2186-.]PI\/|-tmp Document 22 Filed 06/23/05 Page 1 of 3 Page|D 23

lN THE UNITED sTATEs DISTRICT CoURT m 26
FoR THE wEsTERN DISTRICT 0F TENNESSEE 3’3 ` d '
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PEARL J. PEGUES, a Tennessee resident ' ' "
Plaintifl`,

v. No.: 2: 05~cv-02186-JPM-tmp

GMAC MORTGAGE CORPORATION,

A Pennsylvania Corporation, and

WILSON & ASSOCIATES, PLLC, (Hon. .Tudge Jon P. McCalla)

an Arkansas Limited Liability Company,

Deferldants.

 

mesen?oRDER GRANTING LEAVE To

EXCEED PAGE LIMITATION OF LOCAL RULES FOR PLAINTIFF’S
MEMORANDUM OF LAW ]N SUPPORT OF MOTION
FOR PARTIAL SUMMARY JUDGMENT AS T() LIABILITY

 

Upon Motion and for good cause shown, the Plaintiil’s Motion to Exceed Page
Limitation of the local rules is well taken and should be granted.
IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the Plaintiff‘s

Memora.ndum of Law in Support of her Motion for Partial Summary Judgment as to Liability

may exceed the page limitation set forth by the local rules 0 ; 2

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ISTRICT JUDGE
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Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
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Honorable Jon McCalla
US DISTRICT COURT

